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IN THE UNITED STATES DISTRICT coURT BY“' D-C-

FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

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X crr:vH{e)rw°MtG€¥m
wALTER MCGHEE, II, X WFS{M AMHM
Plaintiff, §
vs. § NO. 05-2103-Ma/P
FRED NOLEN, et al., §
Defendants. §

 

ORDER GRANTING MOTION TO PROCEED lN FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE SERVICE

 

Plaintiff Walter McGhee, II, a citizen of Memphis, Tennessee,
has filed a complaint along with a umtion to proceed in §Q;ma
pauperis and for appointment of counsel. The motion to proceed in
;g;ma pauperis is GRANTED. The Clerk of Court shall file the case
and record the defendants as Fred Nolan, Alvin Kurn, and the State
of Tennessee.l

A district court is vested with broad discretion in
determining whether to appoint counsel for an indigent civil
litigant. See Lavado v. Keohane, 992 F.2d 601, 604-05 (Gth Cir.
1993). Notably, however, appointment of counsel in a civil case is

not a constitutional right, and courts generally do not appoint

 

1 Plaintiff named the Division of Rehabilitation Services of the Tennessee

Department of Human Services as a defendant. As governmental divisions and
departments are not suable entities, the Court construes the complaint as naming

the State of Tennessee as the defendant. See generally Hafer v. Melo, 502 U.S.
21 (1991) .

 

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counsel in a civil case absent a showing of "exceptional
circumstances." ldp at 605-06. In determining whether an
appointment is warranted, courts evaluate the type of case, the
complexityl of the factual and. legal issues involved, and the
ability of the litigant to represent himself. §g§ idp at 606;
Kilgo v. Ricks, 983 F.Zd 189, 193 (11th Cir. 1993)("The key [to
determining whether exceptional circumstances exist] is whether the
ppg §§ litigant needs help in presenting the essential merits of
his or her position to the court. Where the facts and issues are
simple, he or she usually will not need such help.") Appointment
of counsel in a civil case is not appropriate when a litigant's
claims are frivolous, or when the chances of success are extremely

slim. See Lavado, 992 F.2d at 604-05; Maclin v. Freake, 650 F.2d

 

885, 887 (7th. Cir. 1981)("[B]efore the court is justified in
exercising its discretion in favor of appointment, it must first
appear that the claim has some merit in fact and law.").

McGhee does not list any reasonable efforts to retain counsel
on his own. The Court concludes that an appointment of counsel is
not warranted and McGhee's motion for appointment of counsel is
denied.

Plaintiff McGhee sues the State of Tennessee and Tennessee
Department of Human Services, Division of Rehabilitation Services
(DRS) employees Fred Nolan and Alvin Kurn. McGhee alleges that he
was denied state funds to attend a historically Black college. He

further alleges that the defendants’ actions violated his First

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Amendment rights, the Americans with Disabilities Act, and the
Rehabilitation Act.

McGhee's claims against the State of Tennessee are barred by
sovereign immunity. .Absent a clear abrogation of immunity by
congressional action or an express state waiver of that immunity,
the Eleventh Amendment prohibits suits against a state in federal
court. Kentuckv v. Graham, 473 U.S. 159, 165-66 (1985); Pennhurst
State Schl. & Hcsp. v. Halderman, 465 U.S. 89, 98-100 (1984); Qpp;p
v. Jordan, 440 U.S. 332 (1979). A state is not a person within the
meaning of 42 U.S.C. § 1983. Will v. Michigan, 491 U.S. 58, 71
(1989). Even if a suit seeks injunctive relief against the State,
the Eleventh Amendment bars the action. Idaho v. Coeur D'Alene

Tribe Of Idaho, 117 S. Ct. 2028, 2041-42 (1997).

 

Accordingly, plaintiff's claims against the State of Tennessee
are barred and fail to state a claim upon which relief may be
granted. Those claims are DISMISSED pursuant to 28 LLS.C. §
1915(e)(2)(B)(ii).

It is ORDERED that the Clerk shall issue process for the
remaining defendants, and deliver said process to the marshal for
service. Service shall be made on the individual defendants
pursuant to Fed. R. Civ. P. 4(e)(1) and Tenn. R. Civ. P. 4.04(1) &
(10), either by mail or personally if mail service is not
effective. The service on the defendants shall include copies of
this order. All costs of service shall be advanced by the United

States.

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It is ORDERED that the plaintiff shall serve a copy of every
further document filed in this cause on the attorney for each
defendant or on any defendant that has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and this Court's local rules.

The plaintiff shall promptly notify the Clerk of any change of
address or whereabouts. Failure to comply with these requirements,
or any other order of the Court, may result in this case being

dismissed without further notice.
IT Is so 0RDERED this 7"°“` day of september, 2005.

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SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DIS'I'RICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-O2103 Was distributed by faX, mail, or direct printing on
September 21 , 2005 to the parties listed.

 

Walter McGhee
2810 Montague Avenue
1\/1emphis7 TN 38114

Honorable Samuel Mays
US DISTRICT COURT

